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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                          CASE NO. 14-CV-21302-COOKE/TORRES

  JOEY MALVAES,
  a Florida resident,

            Plaintiff,

  v.

  CONSTELLATION             BRANDS,
  INC., a Delaware corporation,
  CROWN IMPORTS, LLC, a
  Delaware limited liability company,
  and SAM’S EAST, INC., an
  Arkansas corporation d/b/a SAM’S
  CLUB,

       Defendants.
  _____________________________/

   PLAINTIFF’S FACT WITNESS LIST IN COMPLIANCE WITH ORDER
      SETTING CIVIL TRIAL AND PRETRIAL SCHEDULE [DE 27]

            Plaintiff, JOEY MALVAES, through undersigned counsel and pursuant to

  this Court’s Order Setting Civil Trial and Pretrial Schedule [DE 27], hereby files

  his Fact Witness List as follows:

            1.     Joey Malvaes
                   c/o Plaintiff’s attorney

            2.     Stephanie Padron-Malvaes
                   2960 SW 12th Street
                   Miami, FL 33135

             GERSON & SCHWARTZ, P.A. • 1980 Coral Way • Miami, Florida 33145-2624
       Dade (305) 371-6000 •Broward (954) 845-0535 • Fax (305) 371-5749 •Toll Free (877) 475-2905
                                       www.injuryattorneyfla.com
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         3.     Ramon Morales
                2315 NW 23 Avenue
                Miami, FL 33142

         4.     Maria Santana
                7945 Embassy Blvd.
                Miramar, FL 33023

         5.     Eloy Santana
                7945 Embassy Blvd.
                Miramar, FL 33023

         6.     Manuel Malvaes
                1033 SW 11th Street
                Miami, FL 33129

         7.     Medical Records Custodian
                Mercy Hospital
                3663 South Miami Avenue
                Miami, FL 33133

         8.     Medical Records Custodian and/or
                Tarik Husain, MD
                4308 Alton Road, Suite 940
                Miami Beach, FL 33140

         9.     Medical Records Custodian and/or
                Hoang Tran, OT/L CHT
                6555 NW 36th Street, Suite 106
                Miami, FL 33166

         10.    Corporate Representative
                Constellation Brands, Inc.
                C/O counsel for Defendant

         11.    Corporate Representative
                Crown Imports, LLC


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    Dade (305) 371-6000 •Broward (954) 845-0535 • Fax (305) 371-5749 •Toll Free (877) 475-2905
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         12.    Corporate Representative
                Sam’s East, Inc.

                              CERTIFICATE OF SERVICE

         I hereby certify that on this 8th day of December, 2014, the undersigned

  counsel served the foregoing through the CM/ECF electronic filing system upon on

  all counsel on the attached service list.

                                              By:    s/NICHOLAS I. GERSON
                                                     NICHOLAS I. GERSON, ESQ.
                                                     Bar Number: 20899
                                                     ngerson@gslawusa.com
                                                     GERSON & SCHWARTZ, P.A.
                                                     1980 Coral Way
                                                     Miami, Florida
                                                     Telephone: (305) 371-6000
                                                     Facsimile: (305) 371-5749
                                                     Attorneys for Plaintiff




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          GERSON & SCHWARTZ, P.A. • 1980 Coral Way • Miami, Florida 33145-2624
    Dade (305) 371-6000 •Broward (954) 845-0535 • Fax (305) 371-5749 •Toll Free (877) 475-2905
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                                       SERVICE LIST

                 Joey Malvaes v. Constellations Brands, Inc. et. al.
              United States District Court, Southern District of Florida

                       Case No.: 14-CV-21302-CIV-COOKE/TORRES

  Philip M. Gerson Esq.                             Ana Alexander, Esq.
  pgerson@gslawusa.com                              miacrtpleadings@wickersmith.com
  Gerson & Schwartz, P.A.                           Constantine G. Nickas, Esq.
  1980 Coral Way                                    Wicker, Smith, O'Hara ,
  Miami, Florida 33145                              McCoy & Ford, P.A.
  Telephone: (305) 371-6000                         2800 Ponce de Leon Blvd.
  Facsimile: (305) 371-5749                         Suite 800
  Attorneys for Plaintiff                           Coral Gables, FL 33134
                                                    Telephone: (305) 448-3939
  Edward S. Schwartz                                Facsimile: (305) 441-1745
  eschwartz@gslawusa.com                            Attorneys for Defendants
  Gerson & Schwartz, P.A.                           Constellation Brands, Inc.,
  1980 Coral Way                                    Crown Imports, LLC and Sam's East,
  Miami, Florida 33145                              Inc.
  Telephone: (305) 371-6000
  Facsimile: (305) 371-5749
  Attorneys for Plaintiff

  Nicholas I. Gerson, Esq.
  ngerson@gslawusa.com
  Gerson & Schwartz, P.A.
  1980 Coral Way
  Miami, Florida 33145
  Telephone: (305) 371-6000
  Facsimile: (305) 371-5749
  Attorneys for Plaintiff




                                                4
          GERSON & SCHWARTZ, P.A. • 1980 Coral Way • Miami, Florida 33145-2624
    Dade (305) 371-6000 •Broward (954) 845-0535 • Fax (305) 371-5749 •Toll Free (877) 475-2905
                                    www.injuryattorneyfla.com
